                                Case: 18-15237                       Doc: 1          Filed: 12/20/18        Page: 1 of 37


     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Western District of Oklahoma

     Case number   (If known): _ _ _ _ _ _ _ _ _ _ _                 Chapter you are filing under:
                                                                     ill' Chapter?
                                                                                                                                ",l   t1 ! 'i
                                                                                                                                lJ i L1         OEC20 P 2= IW
                                                                     □ Chapter 11
                                                                     □ Chapter12
                                                                     □ Chapter 13                                                               □ Check i,f \hi~ is clill



Official Form 101
                                                                                                                                                cE?Jfl
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                    12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in Joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information Is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In Joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


•iii          Identify Yourself

                                        About Debtor 1 :                                               About Debtor 2 (Spouse Only In a Joint Case):
1.    Your full name
      Write the name that is on your
      government-issued picture
                                         Cheryl
      identification (for example,      First name                                                     First name
      your driver's license or           Ann
      passport).                        Middle name                                                    Middle name

      Bring your picture                 Burns
      identification to your meeting    Last name                                                      Last name
      with the trustee.
                                        Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr., Jr., II, Ill)




2.    All other names you                None
      have used in the last 8           First name                                                     First name
      years
      Include your married or           Middle name                                                    Middle name
      maiden names.
                                        Last name                                                      Last name



                                        First name                                                     First name


                                        Middle name                                                    Middle name


                                        Last name                                                      Last name




a. Only the last 4 digits of
      your Social Security              XXX           xx - _6___5_ -2- -3-                             XXX           XX -

      number or federal                 OR                                                             OR
      Individual Taxpayer
      Identification number             9xx - xx                                                       9xx - xx
      (ITIN}

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                              Case: 18-15237                          Doc: 1          Filed: 12/20/18             Page: 2 of 37



Debtor 1         Cheryl           Ann                     Burns                                           Case number (Hnown) _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                 Last Name




                                            About Debtor 1 :                                                  About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          i.zl I have not used any business names or EINs.                  D      I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
      the last 8 years                      Business name                                                     Business name

      Include trade names and
      doing business as names                                                                                 Business name
                                            Business name




                                            EIN



                                            EIN                                                               EIN




s. Where you live                                                                                             If Debtor 2 lives at a different address:



                                            1900 S. Czech Hall Rd
                                            Number           Street                                           Number          Street


                                            Apt. D

                                            Yukon                                     OK        73099
                                            City                                     State     ZIP Code       City                                     State    ZIP Code

                                            Canadian
                                            County                                                            County


                                            If your mailing address is different from the one                 If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                       any notices to this mailing address.


                                            Same as above
                                            Number           Street                                           Number          Street



                                            P.O. Box                                                          P.O. Box



                                            City                                     State     ZIP Code       City                                     State    ZIP Code




s. Why you are choosing                     Check one:                                                        Check one:
      this district to file for
      bankruptcy                            liZ'.i Over the last 180 days before filing this petition,        D      Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any                  I have lived in this district longer than in any
                                                   other district.                                                   other district.

                                            D      I have another reason. Explain.                            D      I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                           (See 28 U.S.C. § 1408.)




     Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                        page 2
                              Case: 18-15237                        Doc: 1          Filed: 12/20/18             Page: 3 of 37



Debtor 1                                                                                                Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name               Last Name




               Tell the Court About Your Bankruptcy Case


1.     The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                            IZl   Chapter 7

                                            D     Chapter 11

                                            D     Chapter 12

                                            D     Chapter 13


a. How you will pay the fee                 l;zl I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                  local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                  with a pre-printed address.

                                            DI     need to pay the fee in installments. If you choose this option, sign and attach the
                                                  Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            D     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                  By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                  less than 150% of the official poverty line that applies to your family size and you are unable to
                                                  pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                  Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.     Have you filed for                   Ill No
       bankruptcy within the
       last 8 years?                        □ Yes.     District                                When                      Case number
                                                                                                       MM/ DD/YYYY

                                                       District                                When                      Case number
                                                                                                       MM/ DD /YYYY

                                                       District                                When                      Case number
                                                                                                       MM/ DD/YYYY



10.    Are any bankruptcy                   Ill   No
       cases pending or being
       filed by a spouse who is             □ Yes.     Debtor                                                            Relationship to you
       not filing this case with                       District                                When                      Case number, if known
       you, or by a business                                                                           MM/DD /YYYY
       partner, or by an
       affiliate?
                                                       Debtor                                                            Relationship to you

                                                       District                                When                      Case number, if known
                                                                                                       MM /DD/YYYY



11.   Do you rent your                      □ No.      Go to line 12.
      residence?                            Ill Yes.   Has your landlord obtained an eviction judgment against you?

                                                       '2.1   No. Go to line 12.
                                                       D      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                              part of this bankruptcy petition.




     Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
                                   Case: 18-15237                       Doc: 1        Filed: 12/20/18             Page: 4 of 37


Debtor 1         Cheryl              Ann                    Burns                                           Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name        Middle Name              Last Name




              Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                   0   No. Go to Part 4.
      of any full- or part-time
      business?                                 D Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                          Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                          Number        Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                           City                                                   State         ZIP Code


                                                          Check the appropriate box to describe your business:
                                                          D   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                          D   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                          D   Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                          D   Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                          D   None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the courl must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
      are you a small business
      debtor?
                                                t:l No.   I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                      D   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(510).                             the Bankruptcy Code.

                                                D Yes.    I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                          Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    0No
      property that poses or is
      alleged to pose a threat                  D Yes.     What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                           Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                     Number        Street




                                                                                     City                                           State     ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
                                 Case: 18-15237                     Doc: 1         Filed: 12/20/18               Page: 5 of 37


Debtor 1         Cheryl           Ann                    Burns                                             Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name              Last Name




              Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1 :                                                   About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             lia' 1received a briefing from an approved credit                  D   I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you              D   I received a briefing from an approved credit                  D   I received a briefing from an approved credit
      cannot do so, you are not                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                         certificate of completion.
      If you file anyway, the court                                                                                 Within 14 days after you file this bankruptcy petition,
                                                 Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee                                                                                 plan, if any.
                                                 plan, if any.
      you paid, and your creditors
      can begin collection activities        D   I certify that I asked for credit counseling                   D   I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                          services from an approved agency, but was
                                                 unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                 days after I made my request, and exigent                          days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                of the requirement.

                                                 To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                    required you to file this case.
                                                 Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                      You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                  may be dismissed.
                                                 Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                 days.                                                              days.

                                             D   I am not required to receive a briefing about                  D   I am not required to receive a briefing about
                                                 credit counseling because of:                                      credit counseling because of:

                                                 D   Incapacity.    I have a mental illness or a mental             D   Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                           deficiency that makes me
                                                                    incapable of realizing or making                                   incapable of realizing or making
                                                                    rational decisions about finances.                                 rational decisions about finances.
                                                 D   Disability.    My physical disability causes me                D   Disability.    My physical disability causes me
                                                                    to be unable to participate in a                                   to be unable to participate in a
                                                                    briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                    through the internet, even after I                                 through the internet, even after I
                                                                    reasonably tried to do so.                                         reasonably tried to do so.
                                                 D Active duty.     I am currently on active military               D   Active duty. I am currently on active military
                                                                    duty in a military combat zone.                                  duty in a military combat zone.

                                                 If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
                              Case: 18-15237                              Doc: 1      Filed: 12/20/18              Page: 6 of 37


Debtor 1       Cheryl           Ann                         Burns                                            Case number (ii known), _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name                 Last Name




             Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                  D     No. Go to line 16b.
                                                  i2I   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.

                                                  D     No. Go to line 16c.
                                                  D     Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter 7?                           D     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           i2I   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                      0   No
      administrative expenses
      are paid that funds will be                       D   Yes
      available for distribution
      to unsecured creditors?

1s.   How many creditors do                i2I   1-49                                     0   1,000-5,000                         0   25,001-50,000
      you estimate that you                □ 50-99                                        0   5,001-10,000                        0   50,001-100,000
      owe?                                 □ 100-199                                      □ 10,001-25,000                         D   More than 100,000
                                           □ 200-999

19.   How much do you                      i2I   $0-$50,000                               D $1,000,001-$10 million                D $500,000,001-$1 billion
      estimate your assets to              □ $50,001-$100,000                             D $10,000,001-$50 million               D $1,000,000,001-$10 billion
      be worth?                            □ $100,001-$500,000                            D $50,000,001-$100 million              D $10,000,000,001-$50 billion
                                           D     $500,001-$1 million                      D $100,000,001-$500 million             D More than $50 billion
20.   How much do you                      □ $0-$50,000                                   D   $1,000,001-$10 million              0   $500,000,001-$1 billion
      estimate your liabilities            i2I   $50,001-$100,000                         D   $10,000,001-$50 million             D   $1,000,000,001-$10 billion
      to be?                               □ $100,001-$500,000                            D   $50,000,001-$100 million            D   $10,000,000,001-$50 billion
                                           D     $500,001-$1 million                      D   $100,000,001-$500 million           D   More than $50 billion
■ @fl        Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

                                           18U~t1~ ~ , 2 ~ ~

                                           X ~~~~n Burns                                                        X
                                                 Signature of Debtor 1                                              Signature of Debtor 2

                                                 Executed on         10/24/2018                                     Executed on
                                                                     MM    / DD   /YYYY                                           MM/ DD     /YYYY


  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
                           Case: 18-15237                     Doc: 1         Filed: 12/20/18        Page: 7 of 37


Debtor 1     Cheryl          Ann                   Burns                                     Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name           Last Name




For you if you are filing this            The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                     should understand that many people find it extremely difficult to represent
attorney                                  themselves successfully. Because bankruptcy has long-term financial and legal
                                          consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                   To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                          dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                          hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                          firm if your case is selected for audit. If that happens, you could lose your right to file another
                                          case, or you may lose protections, including the benefit of the automatic stay.

                                          You must list all your property and debts in the schedules that you are required to file with the
                                          court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                          in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                          property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                          also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                          case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                          cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                          Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                          If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                          hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                          successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                          Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                          be familiar with any state exemption laws that apply.

                                          Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                          consequences?
                                          0   No
                                          ~ Yes

                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or incomplete, you could be fined or imprisoned?
                                          0   No
                                          ~ Yes

                                          Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                          ~ No
                                          □ Yes. Name of Person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                          have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                          a~
                                                   1
                                                       fY   ~~ t s or property if I do not properly handle the case.


                                        X Chery~nn Burns                                         X------------------
                                           Signature of Debtor 1                                      Signature of Debtor 2


                                         Date               10/24/2018                                Date
                                                            MM/ DD   /YYYY                                             MM/    DD /YYYY

                                         Contact phone      (918) 510-2595                            Contact phone


                                         Cell phone         (918} 510-2595                            Cell phone

                                          Email address     okgolfher@~ahoo.com                       Email address



 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                 page 8
                                      Case: 18-15237                        Doc: 1                Filed: 12/20/18                   Page: 8 of 37


 Fill in this information to identify your case:

 Debtor 1          Cheryl                           Ann                              Burns
                     First Name                      Middle Name                      Last Name

 Debtor 2
 (S(!ouse, if filing) First Name                     Middle Name                      Last Name


 United States Bankruptcy Court for the: Western District of Oklahoma
                                                                                                       El
 Case number                                                                                                                                                                D   Check if this is an
                     (If known)                                                                                                                                                 amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


■ §fl           Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own

1. Schedule AIB: Property (Official Form 106NB)
                                                                                                                                                                            $ _ _ _ _ __
    1a. Copy line 55, Total real estate, from Schedule A/8 ..........................................................................................................


    1b. Copy line 62, Total personal property, from Schedule AIB ...............................................................................................               2,000.00
                                                                                                                                                                            $--- ---

    1c. Copy line 63, Total of all property on Schedule AIB .........................................................................................................
                                                                                                                                                                            $ _ _2_,o_o_o_.o_o     I
■ §fj           Summarize Your Liabilities


                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                            $ _ _2_9_,5_6_9_.o_o
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D .......... ..


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            $ _ _6_6_,9_3_9_.0_0
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF .......................................... ..

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF ..................................... ..
                                                                                                                                                                        +   $ _ _ _ _ __



                                                                                                                                       Your total liabilities               $       96,508.00
                                                                                                                                                                                                   1

j§fl           Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                            $ _ _2_,2_8_7_.2_0
    Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ....................................................................................................             $ _ _2_,1_3_7_.6_0




Official Form 106S um                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                                  Case: 18-15237                 Doc: 1       Filed: 12/20/18            Page: 9 of 37

   Debtor 1     Cheryl                         Ann                  Burns                         Case number (1fknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name      Middle Name         Last Name




               Answer These Questions for Administrative and Statistical Records

       Are you filing for bankruptcy under Chapters 7, 11, or 13?

       D No. You have nothing to report on this part of the form    Check this box and submit this form to the court with your other schedules.
       0 Yes

   7. What kind of debt do you have?

       0   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

       D Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                             $ _ _2_,2_8_7_.2_0




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:



                                                                                                         Total claim


        From Part 4 on Schedule EIF, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                  $


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $


       9d. Student loans. (Copy line 6f.)                                                                $


       9e. Obligations arising out of a separation agreement or divorce that you did not report as       $
           priority claims. (Copy line 69.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$



      9g. Total. Add lines 9a through 9f.                                                                $                  0.00   I




Official Form 106Sum      Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of 2
                                    Case: 18-15237                  Doc: 1             Filed: 12/20/18           Page: 10 of 37

Fill in this information to identify your case and this filing:


Debtor 1            Cheryl                      Ann                        Burns
                    First Name                   Middle Name               Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name               Last Name


United States Bankruptcy Court for the: Western District of Oklahoma

Case number
                                                                                                                                               D Check if this is an
                                                                                                                                                  amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    ~    No. Go to Part 2.
    D    Yes. Where is the property?
                                                                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    D    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
      1.1.
             Street address, if available, or other description
                                                                    D    Duplex or multi-unit building
                                                                    D    Condominium or cooperative                    Current value of the      Current value of the
                                                                    D    Manufactured or mobile home                   entire property?          portion you own?
                                                                    D    Land                                          $________                 $_ _ _ _ _ _ _
                                                                    D    Investment property
                                                                    D    Timeshare                                     Describe the nature of your ownership
             City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    D    Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                       the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    D Debtor 1 only
             County                                                 D Debtor 2 only
                                                                    D Debtor 1 and Debtor 2 only                       D Check if this is community property
                                                                                                                          (see instructions)
                                                                    D At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __

    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                   D    Single-family home                             the amount of any secured claims on Schedule D:
      1.2.                                                                                                             Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                   D    Duplex or multi-unit building
                                                                   D    Condominium or cooperative                     Current value of the      Current value of the
                                                                   D    Manufactured or mobile home                    entire property?          portion you own?
                                                                   D    Land                                           $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                   D    Investment property
                                                                                                                       Describe the nature of your ownership
             City                            State      ZIP Code
                                                                   D    Timeshare
                                                                                                                       interest (such as fee simple, tenancy by
                                                                   D    Other _ _ _ _ _ _ _ _ _ _ __                   the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   D Debtor 1 only
             County                                                D Debtor 2 only
                                                                   D Debtor 1 and Debtor 2 only                        D Check if this is community property
                                                                   D At least one of the debtors and another              (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __



Official Form 106A/B                                               Schedule A/B: Property                                                               page 1
                                      Case: 18-15237                     Doc: 1             Filed: 12/20/18           Page: 11 of 37
Debtor 1           Cheryl                          Ann                          Burns                        Case number (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name       Middle Name            Last Name




                                                                        What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                        D   Single-family home                              the amount of any secured claims on Schedule D:
    1.3.                                                                                                                    Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description       D   Duplex or multi-unit building
                                                                        D   Condominium or cooperative                      Current value of the         Current value of the
                                                                                                                            entire property?             portion you own?
                                                                        D   Manufactured or mobile home
                                                                        D   Land
                                                                                                                            $_______                     $_ _ _ _ _ __
                                                                        D   Investment property
                                                                                                                            Describe the nature of your ownership
           City                                State      ZIP Code      D   Timeshare
                                                                                                                            interest (such as fee simple, tenancy by
                                                                        D   Other _ _ _ _ _ _ _ _ _ _ __                    the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        D Debtor 1 only
               County
                                                                        D Debtor 2 only
                                                                        D Debtor 1 and Debtor 2 only                        D Check if this is community property
                                                                                                                                (see instructions)
                                                                        D At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __



2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here . ......................................................................................   -+
                                                                                                                                                        I
                                                                                                                                                        .__$_ _ _ _ _ _ __.




•&fl            Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   0      No
   il'Yes


   3.1.        Make:                        Honda                       Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on Schedule D:
               Model:                       CRV                         0 Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                            2018                        D Debtor 2 only
               Year:                                                                                                        Current value of the            Current value of the
                                                                        D Debtor 1 and Debtor 2 only
                                            3300                                                                            entire property?                portion you own?
               Approximate mileage:                                     D At least one of the debtors and another
               Other information:
                                                                                                                            $        32,000.00              $    1,500.00
                                                                        D Check if this is community property (see                                           --------
                                                                            instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                                                        Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on Schedule D:
           Model:
                                                                        D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                        D Debtor 2 only
           Year:                                                                                                            Current value of the            Current value of the
                                                                        D Debtor 1 and Debtor 2 only                        entire property?                portion you own?
           Approximate mileage:                                         D Al least one of the debtors and another
           Other information:
                                                                                                                            $_ _ _ _ _ __                   $ _ _ _ _ _ __
                                                                        D Check if this is community property (see
                                                                            instructions)




Official Form 106A/B                                                    Schedule A/8: Property                                                                    page 2
                                 Case: 18-15237                   Doc: 1            Filed: 12/20/18          Page: 12 of 37
Debtor 1        Cheryl                         Ann                      Burns                         Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name   Middle Name         Last Name




   3.3.     Make:                                                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
            Model:                                               D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
            Year:                                                                                                    Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Approximate mileage:                                 D At least one of the debtors and another
            Other information:
                                                                                                                     $_ _ _ _ __               $_ _ _ _ _ __
                                                                 D Check if this is community property (see
                                                                    instructions)


   3.4.     Make:                                                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
            Model:                                               D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
            Year:                                                                                                    Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Approximate mileage:                                 D At least one of the debtors and another
            Other information:
                                                                                                                     $_ _ _ _ __               $_ _ _ _ _ __
                                                                 D Check if this is community property (see
                                                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   0      No
   D      Yes


   4.1.     Make:                                                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
            Model:
                                                                 D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
            Year:
                                                                 D Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
            Other information:                                   D At least one of the debtors and another           entire property?          portion you own?


                                                                 D Check if this is community property (see          $_ _ _ _ _ __             $ _ _ _ _ _ _ __
                                                                    instructions)



   If you own or have more than one, list here:

   4.2.     Make:                                                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                     the amount of any secured claims on Schedule D:
            Model:                                               D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
            Year:                                                                                                    Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                        entire property?          portion you own?
            Other information:                                   D At least one of the debtors and another
                                                                                                                     $._ _ _ _ __              $ _ _ _ _ _ __
                                                                 D Check if this is community property (see
                                                                    instructions)




Official Form 106A/B                                              Schedule A/8: Property                                                              page 3
                                     Case: 18-15237                           Doc: 1              Filed: 12/20/18                        Page: 13 of 37

 Debtor 1          Cheryl                  Ann                   Burns                                                         Case number      (itknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name             Middle Name           Last Name




                Describe Your Personal and Household Items

                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest In any of the following Items?
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                               or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     0     No
     -zi   Yes. Describe.........          Refrigerator, washer & dryer, furniture, bedding, kitchenware                                                                           $ _ _ _2_,_00_0_.o_o


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     0     No
     -zi   Yes. Describe ..........        Television, computer, printer, cell phone, camera                                                                                   l   $_ _ _1_,5_0_0_.o_o

a. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     ~ No
                                                                                                                                                                                   $_ _ _ _ _ _ __
     D     Yes. Describe ..........    ,_! N_o_n_e______ ··-·-···········-------
9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments

     0     No
     -zi   Yes. Describe ..........   !Golf clubs                                                                                                   l                                        100.00
                                                                                                                                                                               I $- - - - - - - - -
                                                                                                                                          ---------~
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     0     No
                                                                                                                                                                                   $ _ _ _ _2_0_0_.o_o
     -zi   Yes. Describe ..........    ,._j  _B_a_re_tt_a·------------······"•····-···---·····-----
11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     0     No
     -zi   Yes. Describe .......... 1 Work          and everyday clothes and shoes                                                                                             I $_ _ _1,_00_0_.o_o
                                       !



12.Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     0     No                          .--------
                                       1
     -zi   Yes. Describe .......... lWggding             ring                                                                                                                      $- - - - -250.00
                                                                                                                                                                                             ---
13. Non-farm animals
     Examples: Dogs, cats, birds, horses

     0     No
     -zi   Yes. Describe ......... .                                                                                                             $          0.00
                                       "'-"="""te""'d""""shw.:e=lt..,,e"'"'r,.,,,d""'o~,,,.,r""ic,,.,e""le,,,s,,,,s:,.._._____________________,~ - - - - - - - -
14. Any other personal and household Items you did not already list, including any health aids you did not list

     0     No
     -zi   Yes. Give specific j'
                                                                                                                                                                               1 $ _ _ _ _1_0_0._o_o
           information ..............      CPAP, crutches
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                   $_ _ _~5~,1~5~0~.o~o
    for Part 3. Write that number here ............................ .... ............ ........... ..... ................. ........... ... .... .. . .. ................   -+

Official Form 106A/B                                                          Schedule A/B: Property                                                                                        page4
                                            Case: 18-15237                     Doc: 1         Filed: 12/20/18           Page: 14 of 37

Debtor 1             Cheryl                 Ann                    Burns                                          Case number   (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name           Middle Name            last Name




•Mil             Describe Your Financial Assets

Do you own or have any legal or equitable Interest In any of the following?                                                                                       Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                  or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   0 No
   121~ ...........................................................................                 ......... .                  Cash: ...................... .               14.00
                                                                                                                                                                   $_ _ _ _ _ _ __




17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.

   0      No
   121    Yes .................... .                                            Institution name:


                                             17.1. Checking account:            Bank of America                                                                    $               656.30

                                             17.2. Checking account:            Banc First                                                                         $                 24.34

                                             17.3. Savings account:             Bank of America                                                                    $                 41.40

                                             17.4. Savings account:                                                                                                $
                                             17.5. Certificates of deposit:                                                                                        $
                                             17.6. Other financial account:                                                                                        $
                                             17.7. Other financial account:                                                                                        $
                                             17.8. Other financial account:                                                                                        $
                                             17.9. Other financial account:                                                                                        $




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   0      No
   liZI   Yes ........ .                     Institution or issuer name:

                                             Etrade                                                                                                                $ _ _ _ _ _-17.65
                                                                                                                                                                               _ __

                                                                                                                                                                   $ _ _ _ _ _ _ __

                                                                                                                                                                   $ _ _ _ _ _ _ __




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an Interest In
   an LLC, partnership, and joint venture

   121    No                                Name of entity:                                                                      % of ownership:
   D Yes. Give specific                                                                                                          _0_o/c_o_ _ _%                    $ _ _ _ _ _ _ __
          information about
          them ........................ .                                                                                        _0_o/c_o_ _ _%                    $ _ _ _ _ _ _ __
                                                                                                                                 _0_o/c_o_ _ _%                    $ _ _ _ _ _ __




Official Form 106A/B                                                           Schedule A/B: Property                                                                          pages
                                          Case: 18-15237                          Doc: 1       Filed: 12/20/18    Page: 15 of 37

 Debtor 1           Cheryl                Ann                         Burns                                 Case number   Of known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name          Middle Name                 Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   liZI   No
   0      Yes. Give specific               Issuer name:
          information about
                                                                                                                                               $ _ _ _ _ _ _ __
          them ....... .
                                                                                                                                               $ _ _ _ _ _ _ __
                                                                                                                                               $ _ _ _ _ _ _ __



21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   0      No
   liZI   Yes. List each
          account separately.             Type of account:               Institution name:

                                           401 (k) or similar plan:      TIAA                                                                           668.62
                                                                                                                                               $- - - - - --
                                           Pension plan:                                                                                       $ _ _ _ _ _ _ __

                                           IRA:                                                                                                $ _ _ _ _ _ _ __

                                           Retirement account:                                                                                 $ _ _ _ _ _ __

                                           Keogh:                                                                                              $_ _ _ _ _ _ _

                                          Additional account:                                                                                  $ _ _ _ _ _ __

                                          Additional account:                                                                                  $ _ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   0      No

   liZI   Yes ............. .                                    Institution name or individual:

                                          Electric:              OG&E                                                                                    25.00
                                                                                                                                              $_ _ _ _ _ _ __
                                          Gas:                   ONG                                                                                     125.00
                                                                                                                                              $_ _ _ _ _ _ _ __
                                          Heating oil:                                                                                        $ _ _ _ _ _ _ __
                                          Security deposit on rental unit:        _G_a_ry,,__O_w_e_n_s___________________                     $_ _ _ _1_,o_o_o._o_o
                                          Prepaid rent:                                                                                       $ _ _ _ _ _ _ __
                                          Telephone:                                                                                          $ _ _ _ _ _ _ __
                                          Water:                 City of Oklahoma City                                                                   50.00
                                                                                                                                              $_ _ _ _ _ _ __
                                          Rented furniture:                                                                                   $_ _ _ _ _ _ _ _
                                          Other:                                                                                              $ _ _ _ _ _ _ _ __



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   liZI   No

   0      Yes ....................... .   Issuer name and description:
                                                                                                                                              $ _ _ _ _ _ __

                                                                                                                                              $ _ _ _ _ _ __
                                                                                                                                              $ _ _ _ _ _ _ __



Official Form 106A/B                                                               Schedule A/B: Property                                               pages
                                            Case: 18-15237                        Doc: 1       Filed: 12/20/18                                      Page: 16 of 37
 Debtor 1          Cheryl                                    Ann                       Burns                                        Case number                       (ifknown), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name            Middle Name               Last Name




24. Interests  in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
      0   No
      D   Yes ....................................       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                                                                   $_ _ _ _ _ __
                                                                                                                                                                                                   $_ _ _ _ _ __

                                                                                                                                                                                                   $_ _ _ _ _ _ __


25. Trusts,  equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit

      0   No
      D   Yes. Give specific                                                                                                                                                                   i
          information about them .... i
                                                                                                                                                                                               P---------
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

      0 No
      D   Yes. Give specific                                                                                                                                                                  j'
          information about them .... __             i----------------------------------                                                                                                           $_ _ _ _ _ _ _ __

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      0   No
                                                                                                                                                                                               I
      D   Yes. Give specific
          information about them .....
                                                     I
                                                                                                                                                                                               !$_ _ __
                                                                                                                                                                                   ----·       I


Money or property owed to you?                                                                                                                                                                     Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you

      0   No



                                                                                                                                  7
      D   Yes. Give specific information                                                                                                                                Federal:              $
               about them, including whether
               you already filed the returns                                                                                                                            State:                $
               and the tax years ....................... .
                                                                                                                                                                        Local:                $



29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      0   No                                                        _ _ _ _ _ _ _ _ _ ,mm~n-•-,wMA     """""""""-•••••--••--••--•--•-•••••   •"'""''''''"'""""'""''




      D   Yes. Give specific information .............. ,
                                                                                                                                                                       Alimony:                    $ _ _ _ _ _ __

                                                                                                                                                                       Maintenance:                $_ _ _ _ _ __
                                                                                                                                                                       Support:                    $ _ _ _ _ _ _ __
                                                                                                                                                                       Divorce settlement:         $_ _ _ _ _ _ __
                                                                                                                                                                       Property settlement:        $_ _ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
      0 No
      D Yes. Give specific information ............. ..
                                                                                                                                                                                                   $ _ _ _ _ _ _ _ __




 Official Form 106A/B                                                             Schedule A/B: Property                                                                                                      page 7
                                  Case: 18-15237                                Doc: 1      Filed: 12/20/18         Page: 17 of 37

 Debtor 1       Cheryl            Ann                                Burns                                   Case number (ffknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name       Middle Name                       Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

    □ No
    i;zJ Yes. Name the insurance company                            Company name:                              Beneficiary:                                    Surrender or refund value:
              of each policy and list its value ...
                                                                    State Farm - Life Insurance                Ron Burns                                                  0.00
                                                                                                                                                               $- - - - - -  -
                                                                    State Farm - Renters Insurance             self                                            $- - - - - -0.00
                                                                                                                                                                           --
                                                                                                                                                               $ _ _ _ _ _ _ __

32. Any interest in property that Is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
    i;zJ No
    D   Yes. Give specific information ..............           I                                                                            ·-7
                                                                                                                                                           j$________
                                                                                                    - - - - - - - - - - - - - - - '"              '""""....J



33. Claims against third parties, whether or not you have flied a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   0    No
    D   Yes. Describe each claim .....................          1
                                                                                                         _______________ j$_________
                                                                                                                                                           :
                                                                j


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
    i;zJ No
                                                                                                                                  ·············~--······1
                                                                                                                                                           I
    D   Yes. Describe each claim.       ····················I
                                                                     -----------------------------~i                                                           $ _ _ _ _ _ _ __




35. Any financial assets you did not already list

    i;zJ No
    0   Yes. Give specific information ...... .
                                                                                         - - - - · - - - - - · - - - - - - - - - - - - - - ' $ _ _ _ _ _ _ __




              Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable Interest in any business-related property?
   i;zJ No. Go to Part 6.
   D    Yes. Go to line 38.

                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                         or exemptions.

38. Accounts receivable or commissions you already earned
   i;ZI No
   D    Yes. Describe ....... !
                                                                                                              ·--------···--··· - - - - - - ~ ~ - - - - - - - - -
39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   i;zJ No
   D    Yes. Describe .......!
                                                                                                                                                        ~---------


Official Form 106A/B                                                            Schedule A/B: Property                                                                     page 8
                                              Case: 18-15237                 Doc: 1       Filed: 12/20/18   Page: 18 of 37
Debtor 1            Cheryl                                 Ann                    Burns                Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name             Middle Name         Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   0      No
                                                                                                                                       i
   D      Yes. Describe .......                                                                                                        !$_ _ _ _ _ _ _ __


41. Inventory
   lil    No
   D      Yes. Describe .......                                                                                                        $ _ _ _ _ _ _ _ __



42. Interests in partnerships or joint ventures

   0      No
   D      Yes. Describe.......              Name of entity:                                                          % of ownership:
                                                                                                                     _ _ _%            $_ _ _ _ _ _ _ _ __
                                                                                                                     _ _ _%            $_ _ _ _ _ _ _ _ __
                                                                                                                     _ _ _%            $_ _ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
   lil    No
   D      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                  □ No
                  D     Yes. Describe ........
                                                                                                                                            $_ _ _ _ _ _ _ _ _


44. Any business-related property you did not already list
   lil    No
   D      Yes. Give specific                                                                                                                $_ _ _ _ _ _ _ _ _
          information .........
                                                                                                                                            $_ _ _ _ _ _ _ __

                                                                                                                                            $_ _ _ _ _ _ _ __

                                                                                                                                            $_ _ _ _ _ _ _ _ _

                                                                                                                                            $_ _ _ _ _ _ _ _ _

                                                                                                                                            $_ _ _ _ _ _ _ __




                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   0      No. Go to Part 7.
   D      Yes. Go to line 47.

                                                                                                                                           Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured claims
                                                                                                                                           or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish

   lia'   No
   D      Yes ......................... ;
                                        i
                                                                                                                                             $_ _ _ _ _ _ _ _



Official Form 106A/B                                                         Schedule A/8: Property                                                     page 9
                                               Case: 18-15237             Doc: 1             Filed: 12/20/18                         Page: 19 of 37

 Debtor 1             Cheryl                   Ann            Burns                                                            Case number   ('known) _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name              Middle Name   last Name




48. Crops-either growing or harvested
    liZI   No


                                                                                                                                                                                 $ _ _ _ _ _ _ __

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    liZI   No
    D      Yes ...................... ..

                                                                                                                                             -------~'                           $ _ _ _ _ _ _ __

50. Farm and fishing supplies, chemicals, and feed

    liZI   No
    D      Yes ........................ .,
                                           I                                                                                                                                     $_ _ _ _ _ _ __

51. Any farm- and commercial fishing-related property you did not already list
    liZI   No
    D      Yes. Give specific
           information ........... ..                                                                                                                                            $_ _ _ _ _ _ __

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                $      0.00
    for Part 6. Write that number here ....... ........ .................                                 .. .. ................       .. ................................. ➔    --------



                   Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

    liZI   No
                                                                                                                                                                                     $_ _ _ _ _ _ _
    D      Yes. Give specific
           information .......... .                                                                                                                                                  $_ _ _ _ _ _ _

                                                                                                                                                                                     $ _ _ _ _ _ __



54. Add the dollar value of all of your entries from Part 7. Write that number here ............................ ..                                 .................... ➔           $- - - - -0.00
                                                                                                                                                                                               --



•§•:I              List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ...                                                                                                                      ........... ➔    $_ _ _ _      o_.o_o
56. Part 2: Total vehicles, line 5                                                            $ _ _1_,5_0_0._00_


57. Part 3: Total personal and household items, line 15                                       $ _ _5_,1_5_0._00_


58. Part 4: Total financial assets, line 36                                                   $- - - 2,587.01
                                                                                                     ----

59. Part 5: Total business-related property, line 45                                          $ _ _ _ _ _ __

60. Part 6: Total farm- and fishing-related property, line 52                                 $ _ _ _ _ _ __

61. Part 7: Total other property not listed, line 54                                       + $ _ _ _ _ _ __

62. Total personal property. Add lines 56 through 61 .................... .                   $           7 ' 93 7·O1 !Copy personal property total                        -+   +$         7,937.01
                                                                                                                     ............J                                                  -------

63. Total of all property on Schedule A/B. Add line 55 + line 62 ......................................................................................... .                    $_ _ _9_,2_3_7_.0_1




 Official Form 106A/B                                                     Schedule A/B: Property                                                                                           page 10
                                     Case: 18-15237              Doc: 1           Filed: 12/20/18                 Page: 20 of 37


 Fill in this information to identify your case:

 Debtor 1            Cheryl                     Ann                       Burns
                     First Name                 Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                Middle Name               last Name


 United States Bankruptcy Court for the: Western District of Oklahoma

 Case number
  (If known)
                                                                                                                                                D   Check if this is an
                                                                                                                                                    amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                  04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                  Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is fifing with you.
      li1' You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b) (3)
       D   You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and line on         Current value of the         Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property                 portion you own
                                                              Copy the value from          Check only one box for each exemption.
                                                              Schedule A/8

       Brief                                                                                                                        1500.00
       description:
                                  Honda CRV                   $1,500.00                    liZi $   1,500.00
                                                                                           □ 1 00% of fair market value, up to
                                                                                                                                    11 U.S.C. § 522(b)(3)
      Line from
      Schedule A/8:            3.1                                                           any applicable statutory limit


       Brief
       description:                Household items            $5,150.00                    liZi $ 5,150.00                          5150.00
                                                                                           D   100% of fair market value, up to     11 U.S.C. § 522(b)(3)
      Line from
      Schedule A/8:                                                                            any applicable statutory limit

       Brief
       description:
                               Accounts &deposits             $2,587.01                    .zi $ 2,587.01                           2587.01
                                                                                           D 100% of fair market value, up to       11 U.S.C. § 522(b)(3)
      Line from
      Schedule A/B:           _36__                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

      li1' No
      D    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

            □      No
            D      Yes



Official Form 1OGG                                            Schedule C: The Property You Claim as Exempt                                               page 1 of J_
                                     Case: 18-15237                       Doc: 1              Filed: 12/20/18         Page: 21 of 37

  Fill in this information to identify your case:


  Debtor 1              Cheryl                     Ann                            Burns
                        First Name                 Middle Name                    Last Name

  Debtor 2
  (Spouse, if filing)   First Name                 Middle Name                    Last Name


  United States Bankruptcy Court for the: Western District of Oklahoma
                                                                                                  El
  Case number
  (If known)                                                                                                                                        0   Check if this is an
                                                                                                                                                        amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).


 1. Do any creditors have claims secured by your property?
     D       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
     1H Yes. Fill in all of the information below.

1@11             List All Secured Claims
                                                                                                                           Column A         Col'-JmnB             ColumnC
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                    Value of collateral   Unsecured
    for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                 that supports this    portion
    As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral,              claim                 If any

PJl American Honda Finance
      Creditor's Name
                                                            Describe the property that secures the claim:                  $    29,569.00 $         32,000.00$
                                                                                                                                                              -----
                                                           2018 Honda CRV
       3625 W Royal Ln, Ste 100
      Number              Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                             lil   Contingent
       Irving                        TX      75063           lil   Unliquidated
      City                           State   ZIP Code        D     Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   lil   Debtor 1 only                                       lil   An agreement you made (such as mortgage or secured
   D     Debtor 2 only                                             car loan)
   D     Debtor 1 and Debtor 2 only                          D     Statutory lien (such as tax lien, mechanic's lien)
   D     At least one of the debtors and another             D     Judgment lien from a lawsuit
                                                             D     Other (including a right to offset) _ _ _ _ _ _ __
   D  Check if this claim relates to a
      community debt
   Date debt was incurred 07/03/201E                        Last 4 digits of account number            9   5 4   0
                                                            Describe the property that secures the claim:                  $_ _ _ _ _ __    $_ _ _ _ _ _ _ $_ _ _ __
      Creditor's Name                                     1-·
      Number              Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                             D     Contingent
                                                             D     Unliquidated
      City                           State   ZIP Code
                                                             D     Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   D     Debtor 1 only                                       D     An agreement you made (such as mortgage or secured
   D     Debtor 2 only                                             car loan)
   D     Debtor 1 and Debtor 2 only                          D     Statutory lien (such as tax lien, mechanic's lien)
   D     At least one of the debtors and another             D     Judgment lien from a lawsuit
                                                             D     Other (including a right to offset) _ _ _ _ _ _ __
   D     Check if this claim relates to a
         community debt
   Date debt was incurred                                   Last 4 digits of account number _              __ _
       Add the dollar value of your entries in Column A on this page. Write that number here:                                   29.569,00

  Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of_1_
                                    Case: 18-15237                      Doc: 1            Filed: 12/20/18                    Page: 22 of 37

 Debtor 1           Cheryl                        Ann                             Burns                              Case number   (ifknownl _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name            last Name


                   List All of Your NONPRIORITY Unsecured Claims

 3.   Do any creditors have nonprlority unsecured claims against you?
      D     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      !;aves
 4. List all of your nonprlorlty unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                            Total claim

E]     Bank of America                                                                     Last 4 digits of account number J!_             __!__ _1_ J!_                     14,007.00
       Nonpriority Creditors Name                                                                                                                                       $- - - ----
                                                                                           When was the debt incurred?                06/27/2005
       P. 0. Box 982238
       Number            Street
       El Paso                                          TX              79998
       City                                             State          ZIP Code            As of the date you file, the claim is: Check all that apply.

                                                                                            lid'"   Contingent
       Who incurred the debt? Check one.                                                   D        Unliquidated
       ~      Debtor 1 only                                                                D        Disputed
       D      Debtor 2 only
       D      Debtor 1 and Debtor 2 only                                                   Type of NONPRIORITY unsecured claim:
       D      At least one of the debtors and another                                      D        Student loans

       D      Check if this claim is for a community debt                                  D        Obligations arising out of a separation agreement or divorce
                                                                                                    that you did not report as priority claims
       Is the claim subject to offset?                                                     D        Debts to pension or profit-sharing plans, and other similar debts
       0      No                                                                            ~       Other. specify   Medical and misc expenses
       ~      Yes



EJ SYNCS/Lowes
       Nonpriority Creditors Name
                                                                                           Last 4 digits of account number _]_
                                                                                           When was the debt incurred?
                                                                                                                                         __E._ _R _!!
                                                                                                                                      04/06/2005
                                                                                                                                                                        $_ _4_,1_5_0._00_


       P. 0. Box 956005
       Number            Street
       Orlando                                          FL              32896              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code
                                                                                            ~       Contingent

       Who incurred the debt? Check one.                                                   D        Unliquidated

       ~      Debtor 1 only
                                                                                           D        Disputed

       D      Debtor 2 only
                                                                                           Type of NONPRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only
       D      At least one of the debtors and another                                      D        Student loans
                                                                                           0        Obligations arising out of a separation agreement or divorce
       D      Check if this claim is for a community debt                                           that you did not report as priority claims

       Is the claim subject to offset?                                                     D        Debts to pension or profit-sharing plans, and other similar debts

       '2i    No
                                                                                           litf'    Other. Specify   Home improvement
       D      Yes


       Merrick Bank                                                                        Last 4 digits of account number            _a _A _2 _A                           4,079.00
                                                                                                                                                                        $
       Nonpriority Creditors Name                                                                                                                                        -------
                                                                                           When was the debt incurred?                 06/01/2004
       P.O. Box 9201
       Number            Street
       Old Bethpage                                      NY             11804
                                                                                           As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                            ~       Contingent
       Who incurred the debt? Check one.
                                                                                           D        Unliquidated
       l;ll' Debtor 1 only                                                                 D        Disputed
       D Debtor 2 only
       D Debtor 1 and Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       D At least one of the debtors and another
                                                                                           D        Student loans
       D      Check if this claim is for a community debt                                  D        Obligations arising out of a separation agreement or divorce
                                                                                                    that you did not report as priority claims
       Is the claim subject to offset?
                                                                                           D        Debts to pension or profit-sharing plans, and other similar debts
       l;il' No                                                                            ~Other.Specify            Medical, misc. expenses
       D Yes


Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                                pageL of   _j_
                                    Case: 18-15237                     Doc: 1            Filed: 12/20/18                  Page: 23 of 37

 Debtor 1          Cheryl                         Ann                            Burns                             Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                Your NON PRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                     Total claim



B      Discover Financial Services
      Nonpriority Creditor's Name
                                                                                            Last 4 digits of account number           _§_ .l_ _Q_ _1_                   $    3,301.00
                                                                                            When was the debt incurred?               10/17/2010
       P.O. Box 15316
      Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
       Wilmington                                       DE             19850
      City                                             State          ZIP Code              ~       Contingent
                                                                                            D       Unliquidated
      Who incurred the debt? Check one.                                                     D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                          D       Student loans
      D At least one of the debtors and another                                             D       Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                            D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       lia     Other. Specify   Education, misc. expenses
      lia No
      D      Yes



4.5
       SYNCB/WALMART DUAL CARD                                                              Last 4 digits of account number __§___         _§_ _1_ _±_                  $    2,566.00'
      Nonpriority Creditor's Name
                                                                                            When was the debt incurred?               10/24/2012
       P.O. Box 965024
      Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
       Orlando                                          FL             32896
      City                                             State          ZIP Code              ~       Contingent
                                                                                            D       Unliquidated
      Who incurred the debt? Check one.                                                     D       Disputed
      ~      Debtor 1 only
      D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                            D       Student loans
      D At least one of the debtors and another                                             D       Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                            D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       i-tl'   Other. Specify   Groceries, gas
      lia No
      D      Yes


4.6                                                                                                                                                                     $    2,284.00
      Capital One Bank USA NA                                                               Last 4 digits of account number           JL   __g__ _§_ _1._
      Nonpriority Creditor's Name
                                                                                            When was the debt incurred?              06/25/2004
      P.O. Box 30281
      Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
      Salt Lake City                                    UT             84130
      City                                             State          ZIP Code              ~       Contingent
                                                                                            D       Unliquidated
      Who incurred the debt? Check one.
                                                                                            D       Disputed
      ~      Debtor 1 only
      D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                            D       Student loans
      D      At least one of the debtors and another
                                                                                            D       Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                            D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       .zf     Other. specify   Computer, printer
      .zl' No
      D      Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                            page?_ of     !J.
                                    Case: 18-15237                Doc: 1    Filed: 12/20/18                  Page: 24 of 37

 Debtor 1           Cheryl          Ann              Burns                                            Case number   (ffknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name      Last Name



                   Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



B      Comenity Capital/HSN
      Nonpriority Creditor's Name
                                                                               Last 4 digits of account number ~ ~                  _§__ _1_               $    2,014.00
                                                                               When was the debt incurred?               03/03/2012
       P.O. Box 182120
      Number             Street
                                                                               As of the date you file, the claim is: Check all that apply.
       Columbus                                    OH             43218
      City                                        State          ZIP Code      !;ii'   Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          lit('   Other. specify   Household items, misc. items
       liZf No
      D       Yes



4.8
       SYNCB/Paypal Smart Conn                                                 Last 4 digits of account number           JL _1_     ~    _Q_               $     1,633.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               11/28/2004
       P.O. Box 965005
      Number             Street
                                                                               As of the date you file, the claim is: Check all that apply.
       Orlando                                     FL             32896
      City                                        State          ZIP Code      !;ii'   Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      i;:a- Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          □ Other. Specify         Misc. items, car parts
      liZf No
      D       Yes


4.9                                                                                                                                                        $    1,598.00
       Home Depot/CBNA                                                         Last 4 digits of account number           _§__ JL JL _1_
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?              05/22/2006
       P.O. Box 6497
      Number             Street
                                                                               As of the date you file, the claim is: Check all that apply.
       Sioux Falls                                SD              57117
      City                                        State          ZIP Code      i;:a-   Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      1;11' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D       Debtor 1 and Debtor 2 only
                                                                               D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          lit(    Other. Specify   Home repair products
      fitl'   No
      D       Yes




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    page~ of      _3_
                                    Case: 18-15237                     Doc: 1    Filed: 12/20/18                  Page: 25 of 37

 Debtor 1          Cheryl           Ann                    Burns                                           Case number   (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



                  Your NON PRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                             Total claim



~      TD Bank USA/Target Credit
                                                                                    Last 4 digits of account number           _l__ _§1__ _§1__ _1_              $    2,180.00
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?               06/17/2007
       P.O. Box         673
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Minneapolis                                      MN             45040
      City                                             State          ZIP Code      !;a'    Contingent
                                                                                    D       Unliquidated
      Who incurred the debt? Check one.                                             D       Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D       Student loans
      D      At least one of the debtors and another
                                                                                    D       Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               ~ Other. Specify Food, misc items
      ~      No
      D      Yes




       Macy's Department Store
                                                                                    Last 4 digits of account number           _l__ .l._ _l_ _1_                 $    2,036.00
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?               02/03/2007
       P.O. Box         8218
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Mason                                            OH             32896
      City                                             State          ZIP Code      !;a'    Contingent
                                                                                    D       Unliquidated
      Who incurred the debt? Check one.                                             D       Disputed
      ~ Debtor 1 only
      D      Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D      Debtor 1 and Debtor 2 only
                                                                                    D       Student loans
      D      At least one of the debtors and another
                                                                                    D       Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               □ Other. Specify Clothing, shoes, gifts
      ~      No
      D      Yes


                                                                                                                                                                $    2,033.00
      Credit One Bank
                                                                                    Last 4 digits of account number           _Q_   l    _Q_ _1_
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?               11/29/2017
      P.O. Box          98872
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Las Vegas                                        NV              89193
      City                                             State          ZIP Code      !;ii'   Contingent
                                                                                    D       Unliquidated
      Who incurred the debt? Check one.                                             D       Disputed
      !;ii' Debtor 1 only
      D Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                  D       Student loans
      D At least one of the debtors and another                                     D       Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                                    D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               1;21' Other. Specify_G_a_s~to_l_ls_ _ _ _ _ __
      ~      No
      D      Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page~of       !)_
                                    Case: 18-15237                Doc: 1    Filed: 12/20/18                  Page: 26 of 37

 Debtor 1          Cheryl           Ann               Burns                                           Case number   (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name      Last Name



                  Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



~      SYNCB/QVC                                                               Last 4 digits of account number           JL _!_     _!_ _1_                $     1,333.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               10/30/2013
       P. 0. Box 965005
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       ORLANDO                                     FL
      City                                        State          ZIP Code      !;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      r;il' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          iiZI'   Other. Specify   Household items, gifts, misc.
      liZf No
      D      Yes



4g                                                                             Last 4 digits of account number           JL _§_     ~    _1_               $     1,329.00
       SYNCB/JC PENNEY
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               06/21/1997
       P.O. BOX 965007
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       ORLANDO                                     FL             82896
      City                                        State          ZIP Code      !;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          □ Other. Specify Household items, gifts, misc.
      0      No
      D      Yes


bi]                                                                            Last 4 digits of account number           _§__ J_ J!_ _§__
                                                                                                                                                           $    1,195.00
      SYNCB/CARE CREDIT
      Nonpriority Creditors Name
                                                                               When was the debt incurred?               12/17/2015
      P.O. BOX 965036
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
      ORLANDO                                      FL             32896
      City                                        State          ZIP Code      !;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NON PRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as prior~y claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          fiZ[    Other. Specify   Medical
                                                                                                       -~~~~--------
      fiZ(   No
      D      Yes




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    page5 of
                                                                                                                                                                    -    -   0
                                    Case: 18-15237                Doc: 1    Filed: 12/20/18                  Page: 27 of 37

 Debtor 1          Cheryl            Ann             Burns                                            Case number   ('known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name      Last Name



                  Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



~      CREDIT ONE BANK                                                         Last 4 digits of account number           JL _§__ JL JL                     $     1,160.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               12/25/2012
       P.O. BOX 98872
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       LAS VEGAS                                   NV             89193
      City                                        State          ZIP Code      l;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      i;il' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          iiZI'   Other. Specify   Fuel, repairs, medical
      liZf No
      D Yes

4g
       SYNCS/AMAZON PLCC                                                       Last 4 digits of account number           _J_ _g_    ~    _1_               $    1,092.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               12/02/2009
       P.O. BOX 965015
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       ORLANDO                                     FL             32896
      City                                        State          ZIP Code      l;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      l;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          lit1'   Other. Specify   Parts, gifts, misc.
      liZf   No
      D      Yes


                                                                                                                                                           $    1,037.00
      AMERICAN EXPRESS                                                         Last 4 digits of account number           _1_ _Q_ _Q_ _i_
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?              04/19/2008
      P.O. BOX 981537
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
      EL PASO                                     TX              79998
      City                                        State          ZIP Code      l;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      l;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          liZI'   Other. Specify   Fuel, airline ticket, misc.
      iiZI' No
      D Yes



Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    page~of       3_
                                    Case: 18-15237                Doc: 1    Filed: 12/20/18                  Page: 28 of 37

 Debtor 1          Cheryl            Ann             Burns                                            Case number   (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name      Last Name



                  Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



~      SYNCB/TJX CO DC                                                         Last 4 digits of account number           _§__ _§_ _1_ _§_                  $       959.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               11/04/2012
       P.O. BOX 965015
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       ORLANDO                                     FL             32896
      City                                        State          ZIP Code      ~       Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          iiZI'   Other. Specify   Gifts, clothes, misc.
      liZf No
      D      Yes



4g
       COMENITY CAPITAUJJILL                                                   Last 4 digits of account number           J__ _§__ _1_ _§_                  $       541.00
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?               08/19/2012
       P.O. BOX 182120
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       COLUMBUS                                    OH             43218
      City                                        State          ZIP Code      ~ Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D      Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          ~       Other. Specify   Clothes, gifts
      liZf No
      D      Yes


                                                                                                                                                           $_ _465.00
                                                                                                                                                                _ __
      CHASE CARD                                                               Last 4 digits of account number           JL _§_     _2_ _§_
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?              06/24/2005
      P.O. BOX 15298
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
      WILMINGTON                                  DE              19850
      City                                        State          ZIP Code      l;a'    Contingent
                                                                               D       Unliquidated
      Who incurred the debt? Check one.                                        D       Disputed
      l;a' Debtor 1 only
      D Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                             D       Student loans
      D At least one of the debtors and another                                D       Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D Check if this claim is for a community debt
                                                                               D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          i;zl'   Other. Specify   Fuel, repairs, misc.
      ~      No
      D      Yes




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    page~of_g
                                    Case: 18-15237                       Doc: 1      Filed: 12/20/18                    Page: 29 of 37

 Debtor 1            Cheryl          Ann                   Burns                                                 Case number   Wknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name     Middle Name             Last Name



                    Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                   Total claim



~
~      FIRST PREMIER                                                                     Last 4 digits of account number            jL _§__ _§__ _§__                 $    1,068.00
       Nonpriority Creditors Name
                                                                                         When was the debt incurred?                11/12/2000
       3820 N. LOUISE AVE
       Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       SIOUX FALLS                                        SD             57107
       City                                              State          ZIP Code          ~       Contingent
                                                                                         0        Unliquidated
       Who incurred the debt? Check one.                                                 0        Disputed
       ~ Debtor 1 only
       0       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       0       Debtor 1 and Debtor 2 only
                                                                                         0        Student loans
       0       At least one of the debtors and another
                                                                                         0        Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       0       Check if this claim is for a community debt
                                                                                         0        Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    iiZI'   Other. Specify   Gas, food, gifts.
       fiZI'   No
       0       Yes



[i]                                                                                      Last 4 digits of account number ~                _g_ _g_ JL                  $     1,046.00 •
       FNB OMAHA
       Nonpriority Creditors Name
                                                                                         When was the debt incurred?                04/01/2014
       P.O. BOX
       Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       OMAHA                                              NE             68197
       City                                              State          ZIP Code          ~       Contingent
                                                                                         0        Unliquidated
       Who incurred the debt? Check one.                                                 0        Disputed
       l;iJ' Debtor 1 only
       0       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       0       Debtor 1 and Debtor 2 only
                                                                                         0        Student loans
       0       At least one of the debtors and another
                                                                                         0        Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       0       Check if this claim is for a community debt
                                                                                          0       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    ~       Other. Specify   Clothes, gifts
       ~       No
       0       Yes


lia]                                                                                     Last 4 digits of account number            _Q_   JL _g__   __§__
                                                                                                                                                                        764.00
                                                                                                                                                                      $__ _ __

       FIRST PREMIER BANK
       Nonpriority Creditors Name
                                                                                         When was the debt incurred?                12/03/2000
       3820 N. LOUISE AVE
       Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       SIOUX                                             FALLS           57107
       City                                              State          ZIP Code         l;i)'    Contingent
                                                                                         0        Unliquidated
       Who incurred the debt? Check one.                                                 0        Disputed
       l;iJ' Debtor 1 only
       0 Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
       0 Debtor 1 and Debtor 2 only                                                      0        Student loans
       0 At least one of the debtors and another                                         0        Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       D       Check if this claim is for a community debt
                                                                                         0        Debts to pension or profrt-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    liZf    Other. Specify   Fuel, repairs, misc.
       liZf    No
       0       Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                    pagef!._ of   1
                                    Case: 18-15237                      Doc: 1      Filed: 12/20/18                   Page: 30 of 37

 Debtor 1           Cheryl           Ann                  Burns                                                Case number   (itknown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name            Last Name



                   Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                 Total claim


Q
~ CHASECARD                                                                             Last 4 digits of account number           _1_   _g_ _§_ JL                  $       536.00
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?              06/25/2014
       P.O. BOX 15298
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       WILMINGTON                                        DE             19850
      City                                              State          ZIP Code         l;a'    Contingent
                                                                                        D       Unliquidated
      Who incurred the debt? Check one.                                                 D       Disputed
      ~ Debtor 1 only
      D       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                      D       Student loans
      D       At least one of the debtors and another
                                                                                        D       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                        D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    liZf   Other. Specify   Gas, food, gifts.
      liZf'   No
      D       Yes




       KOHLS                                                                            Last 4 digits of account number           JL _§_ _Q_      ~                 $       380.00
      Nonpriority Creditors Name
                                                                                        When was the debt incurred?              07/19/2009
       P.O. BOX 3115
      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       MILWAUKEE                                        WI              53201
      City                                              State          ZIP Code         l;a'    Contingent
                                                                                        D       Unliquidated
      Who incurred the debt? Check one.                                                 D       Disputed
      l;a' Debtor 1 only
      D Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                      D       Student loans
      D At least one of the debtors and another                                         D       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                         D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   lia     Other Specify    Clothes, gifts
      lia No
      D       Yes


                                                                                                                                                                    $   15, 104.<ij
      AVANT                                                                             Last 4 digits of account number           JL _g__    ~    _Q_
      Nonpriority Creditors Name
                                                                                        When was the debt incurred?               11 /17/2015
       222 N. LASALLE, SUITE 1700
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       CHICAGO                                          IL              60601
      City                                              State          ZIP Code          l;a'   Contingent
                                                                                        D       Unliquidated
      Who incurred the debt? Check one.                                                 D       Disputed
      !;a' Debtor 1 only
      D Debtor 2 only                                                                   Type of NON PRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                       D      Student loans
      D At least one of the debtors and another                                         D       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                         D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    1;21' Other. Specify_M_e~d_i_c_a_l- - - - - - -
      .zl' No
      D       Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                   page!:!_of~
                                              Case: 18-15237        Doc: 1          Filed: 12/20/18                   Page: 31 of 37


Fill in this information to identify your case:

Debtor 1              Cheryl                        Ann                  Burns
                      First Name                   Middle Name          last Name

Debtor 2
(Spouse, if filing)   First Name                   Middle Name          Last Name


U nlted States Bankruptcy Court for the: Western District of Oklahoma

Case number
(If known)
                                                                                                                                       D   Check if this is an
                                                                                                                                           amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                 12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below



        Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

        Gif No
        D Yes.          Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and

                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.


            (l,fuf ~ ~ u 1 /
     X     Cheryl Ann Burns
          Signature of Debtor 1                                            Signature of Debtor 2


         Date     10/24/2018                                               Date--~----
                 MM/      DD       /   YYYY                                  MM/ DD I YYYY




  Official Form 106Dec                                           Declaration About an Individual Debtor's Schedules
              Case: 18-15237       Doc: 1        Filed: 12/20/18    Page: 32 of 37




                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

INRE:                                        )
Cheryl Ann Burns                             )
                                             )        Case No.
                                             )        Chapter _7_ _
               Debtor.                       )


                               VERIFICATION OF MATRIX


                The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.


Date: 12/20/2018                             Cheryl Ann Bwns/
                                                      Debtor Name
                                                                    (IJ;,,/WL~
                                                      Joint Debtor Name (if applicable)
           Case: 18-15237    Doc: 1   Filed: 12/20/18   Page: 33 of 37




BANK OF AMERICA             MERRICK BANK                DISCOVER FINANCIAL
PO BOX 982238               PO BOX 9201                 SERVICE
EL PASO, TX 79998           OLD BETHPAGE, NY 11804      PO BOX 15316
                                                        WILMINGTON, DE 19850

SYN CB/WALMART              SYN CB/LOWES                CAPITAL ONE BANK USA NA
PO BOX 965024               PO BOX 956005               PO BOX 30281
ORLANDO, FL 32896           ORLANDO, FL 32896           SALT LAKE CITY, UT 84130

TD BANK USA/TARGET          CREDIT ONE BANK             COMENITY CAPITAL/HSN
PO BOX 673                  PO BOX 98872                P.O. BOX 182120
MINNEAPOLIS, MN 55440       LAS VEGAS, NV 89193         COLUMBUS, OH 43218

SYNCB/PAYPAL SMART          HOME DEPOT/CBNA             MACY'S DEPARTMENT
CONN                        P.0. BOX 6497               STORE
P.O. BOX 965005             SIOUX FALLS, SD 57117       P.O. BOX 8218
ORLANDO, FL 32896                                       MASON, OH 32896

SYNCB/QVC                   SYNCB/JC PENNEY             SYNCB/CARE CREDIT
PO BOX 965005               PO BOX 965007               C/0 PO BOX 965036
ORLANDO, FL 32896           ORLANDO, FL 32896           ORLANDO, FL 32896

CREDIT ONE BANK             SYNCB/AMAZON PLCC           AMERICAN EXPRESS
PO BOX 98872                PO BOX 965015               P.O. BOX 981537
LAS VEGAS, NV 89193         ORLANDO, FL 32896           EL PASO, TX 79998



SYNCB/TJX CO DC             CHASE CARD                  FIRST PREMIER
PO BOX 965015               P.0. BOX 15298              3820 N LOUISE AVE
ORLANDO, FL 32896           WILMINGTON, DE 19850        SIOUX FALLS, SD 57107

FNB OMAHA                   KOHLS DEPARTMENT STORE      AVANT
P.O. BOX 3412               PO BOX 3115                 222 N. LASALLE ST SUITE
OMAHA, NE 68197             MILWAUKEE, WI 53201         1700
                                                        CHICAGO, IL 60601

AMERICAN HONDA FINANCE
CORP
P.0. BOX 7829
PHILADELPHIA, PA 1911-
7829
                    Case: 18-15237            Doc: 1        Filed: 12/20/18         Page: 34 of 37




Notice Required by 11 U.S.C. § 342{b) for
Individuals Filing for Bankruptcy (Form 201 0)


                                                                 Chapter 7:         Liquidation
  This notice is for you if:

      1111   You are an individual filing for bankruptcy,
                                                                          $245      filing fee
              and                                                          $75      administrative fee
                                                                 +         ~15      trustee surcharge
      111     Your debts are primarily consumer debts.
                                                                          $335      total fee
              Consumer debts are defined in 11 U.S.C.
              § 101(8) as "incurred by an individual             Chapter 7 is for individuals who have financial
              primarily for a personal, family, or               difficulty preventing them from paying their
              household purpose."                                debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                 bankruptcy discharge relieves you after
available to individuals                                         bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                 particular debts, and liens on property may still
under one of four different chapters of the                      be enforced after discharge. For example, a
Bankruptcy Code:                                                 creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
■            Chapter 7 -    Liquidation
                                                                 However, if the court finds that you have
■            Chapter 11- Reorganization
                                                                 committed certain kinds of improper conduct
■            Chapter 12- Voluntary repayment plan                described in the Bankruptcy Code, the court
                         for family fanners or                   may deny your discharge.
                         fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
111          Chapter 13- Voluntary repayment plan
                         for individuals with regular            debts are not discharged under the law.
                         income                                  Therefore, you may still be responsible to pay:
                                                                 11   most taxes;
You should have an attorney review your                          •    most student loans;
decision to file for bankruptcy and the choice of
                                                                 11   domestic support and property settlement
chapter.
                                                                      obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)           page 1
             Case: 18-15237               Doc: 1        Filed: 12/20/18            Page: 35 of 37




■   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
■   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
■   fraud or theft;
                                                                you may choose to proceed under another
■   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                               If you are an individual filing for chapter 7
■   intentional injuries that you inflicted; and
                                                               bankruptcy, the trustee may sell your property
■   death or personal injury caused by                         to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                      exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                 proceeds from the sale of the property. The
    drugs.                                                     property, and the proceeds from property that
                                                               your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds              Exemptions may enable you to keep your
that you have enough income to repay                           home, a car, clothing, and household items or
creditors a certain amount. You must file                      to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                    is sold.
Income (Official Form 122A-1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A-2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form -the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A-2). The calculations on the form-                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test--deduct                         business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page2
             Case: 18-15237               Doc: 1        Filed: 12/20/18            Page: 36 of 37




Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family fanners and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                ■     domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                            ■     most student loans,
            income                                              •     certain taxes,
                                                                11    debts for fraud or theft,
          $235    filing fee
                                                                •     debts for fraud or defalcation while acting
+          $75     administrative fee
                                                                      in a fiduciary capacity,
          $31 0   total fee
                                                                ■     most criminal fines and restitution
Chapter 13 is for individuals who have regular                        obligations,
income and would like to pay all or part of                     111   certain debts that are not listed in your
their debts in installments over a period of time                     bankruptcy papers,
and to discharge some debts that are not paid.
                                                                11    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                      personal injury, and
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.                                   •     certain long-term secured debts.



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page3
                Case: 18-15237                Doc: 1        Filed: 12/20/18        Page: 37 of 37




                                                                A married couple may file a bankruptcy case
                                                                together-called a joint case. If you file a joint
    Warning: File Your Forms on Time
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and
                                                                 Understand which services you
    their deadlines, go to:                                      could receive from credit
    http://www.uscourts.gov/bkforms/bankruptcv form              counseling agencies
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
■     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury-either orally or                 is usually conducted by telephone or on the
      in writing-in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
■      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                 http://justice.gov/ust/eo/haocpa/ccde/cc aporoved.html.
Make sure the court has your                                     In Alabama and North Carolina, go to:
mailing address                                                  http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                 BankruptcyResources/ApprovedCredit
The bankruptcy court sends notices to the
                                                                 AndDebtCounselors.aspx.
mailing address you list on Voluntary Petition
for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page4
